            Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 1 of 23




                      UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF NEW HAMPSHIRE




United States of America

       V.                                                Criminal No. 16-cr-33-01-JL

Daniel E. Musso




                                JURY INSTRUCTIONS
          Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 2 of 23




                                       INTRODUCTION


       At this stage ofthe trial it is the duty ofthe court to instruct you on the principles oflaw

that you will apply in deciding this case. It is your duty to follow these instructions during your

deliberations. You should not single out any one instruction but instead apply these instructions

as a whole to the evidence in this case.


       The fact that the prosecution is brought in the name of United States of America entitles

the United States Attomey to no greater consideration than that accorded to any other party to a

litigation. By the same token, it is entitled to no less consideration. All parties, whether

government or individuals, stand as equals at the bar ofjustice.



                               JURY IS SOLE JUDGE OF FACT

        Asjurors, you are the sole and exclusive judges of the facts. You must weigh the

evidence that has been presented impartially, without bias, without prejudice, without sympathy.

You must make a determination as to what the facts are, what the truth is, based upon the

evidence presented in the case. You will decide the case by applying the law as it is given to you

in these instructions to the facts as you find them to be from the evidence.
          Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 3 of 23




                               CREDIBILITY OF WITNESSES


       Your duty as ajury is to determine what the facts are, what the truth is. In doing that, it

will be necessary for you to assess the credibility ofeach witness and determine what weight you

will give to each witness's testimony. By credibility we mean the believability or the

truthfulness ofa witness.

        You should carefully scrutinize all the testimony given, the circumstances under which

each witness has testified, and every matter in evidence which tends to show whether a witness is

worthy ofbelief or not worthy of belief. For example:

• Consider each witness's intelligence, motive, state of mind, and demeanor and manner while

    testifying;

• Consider each witness's ability to observe or to know the matters about which that witness

    has testified and whether the witness impresses you as having an accurate recollection of

    those matters;

• Consider whether the witness had any reason for telling the truth or not telling the truth,

    whether the witness had an interest in the outcome ofthe case, or whether the witness had

    any friendship, relationship, or animosity toward other individuals involved in the case;

• Consider the extent, if any,to which the testimony ofeach witness was consistent or

    inconsistent with itself or with the testimony of other witnesses; and

• Consider the extent, if any,to which the testimony ofeach witness was either supported or

    contradicted by other evidence in the case.

        The testimony ofa witness may be discredited or, as we sometimes say,"impeached," by

showing that the witness previously made statements which are different from,or inconsistent

with, his or her testimony here in court. Inconsistent or contradictory statements which are made
          Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 4 of 23




by a witness outside ofcourt may be considered only to discredit or impeach the credibility of

the witness and not to establish the truth ofthese earlier out of court statements.

       You must decide what weight, if any, should be given the testimony ofa witness who has

made prior inconsistent or contradictory statements. In making this determination you may

consider whether the witness purposely made a false statement or whether it was an innocent

mistake; whether the inconsistency concerns an important fact, or whether it had to do with a

small detail; whether the witness had an explanation for the inconsistency, and whether that

explanation appealed to your common sense.

       In assessing the credibility ofeach witness, both under direct and cross-examination, you

will assign each witness's testimony whatever weight as you deem proper. You are not required

to believe the testimony of any witness simply because that witness was under oath. You may

believe or disbelieve all or part ofthe testimony of any witness. It is within your province to

determine what testimony is worthy of belief and what testimony may not be worthy of belief.



                               LAW ENFORCEMENT AGENTS

        During the course oftrial, you also heard law enforcement agents testify. You should

consider the testimony oflaw enforcement agents in the same manner as you would consider the

testimony of any other witness in the case. In evaluating the credibility ofa law enforcement

agent, you should use the same tests which you would apply to the testimony of any other

witness. In no event should you give the testimony of a law enforcement agent any more

credibility or any less credibility simply because ofthat witness's position.
          Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 5 of 23



                               QUESTIONING BY THE JUDGE


       During the trial, I asked questions of one or more ofthe witnesses who testified. You

should not infer anything whatsoever from any questions that I asked any ofthe witnesses in this

case. Do not assume that I hold any opinion regarding any part ofthis case. You are the sole

judges ofthe facts in this case.



                                   WEIGHT OF THE EVIDENCE


        The weight ofthe evidence is not necessarily determined by the number of witnesses

testifying on one or the other side of an issue. You should consider all the facts and

circumstances in evidence to determine which of the witnesses are worthy of belief. You may

find that the testimony of a small number of witnesses on a particular issue is more credible than

the testimony of a greater number of witnesses on the other side ofthat issue.

        In reviewing the evidence, you should consider the quality ofthe evidence and not the

quantity. It is not the number of witnesses or the quantity oftestimony that is important, but the

quality ofthe evidence that has been produced that is important. You will consider all ofthe

evidence, no matter which side produced or elicited it, because there are no property rights in

witnesses or in the evidence that is presented.



                                      WHAT IS EVIDENCE


        The evidence in this case consists ofthe sworn testimony ofthe witnesses, all ofthe

exhibits received in evidence, and any stipulations the parties have entered. You will consider

all ofthe evidence no matter which side produced or elicited it because neither side has an

exclusive right to the testimony of particular witnesses or to the evidence that is presented.
          Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 6 of 23




                      DIRECT AND CIRCUMSTANTIAL EVIDENCE

       There are two types ofevidence that you may properly use in deciding whether a

defendant is guilty or not guilty.

       Direct evidence is the testimony given by a witness about what that witness has seen, has

heard or has observed, or what that witness knows based on personal knowledge. Direct

evidence also includes any exhibits that have been marked.

       Evidence may also be used to prove a fact by inference. This is referred to as

circumstantial evidence. In other words,from examining direct evidence you may be able to

draw certain inferences which are reasonable and justified in light of your daily experience.

Such inferences constitute circumstantial evidence. Circumstantial evidence may be given the

same weight by you as direct evidence.



                                           STIPULATIONS


       You heard that the parties in this case entered into what is known as a "stipulation." The

parties' stipulation is Court Exhibit 1.

        A stipulation is an agreement that you may consider certain facts to have been proven

even though you did not receive testimony or other evidence as to those facts. You may, but are

not required to, accept the stipulation as proofofthose facts.
          Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 7 of 23



                            RECORDINGS AND TRANSCRIPTS

       During the course oftrial, you heard several recordings of conversations. That is proper

evidence for you to consider. You were also given transcripts to read along as the recordings

were played. As you were instructed before the recordings were played,the transcripts were

provided merely to help you follow the recordings while they were played. What you read on

the transcripts is not evidence; what you heard on the recordings is evidence. If you believe at

any point that the transcripts said something different, or varied at all, from what you heard on

the recordings, you must be guided solely by what you heard on the recordings and not by what

you saw in the transcripts. If you cannot,for example, determine from the recordings that a

particular word or words were spoken, or who spoke them, you must disregard the transcripts

insofar as that word or words, or that speaker, is concerned.



                                STATEMENT BY DEFENDANT


       You have heard evidence that the defendant made statements in which the United States

Attorney alleges he admitted certain facts. It is for you to decide(1) whether the defendant made

any statements and(2)if so, how much weight to give them. In making those decisions, you

should consider all ofthe evidence about the statements, including the circumstances under

which the statements may have been made and any facts or circumstances tending to corroborate

or contradict the statements.




                                LIMITED PURPOSE EVIDENCE


       A particular item of evidence is sometimes received for a limited purpose only. You may

have been instructed by the court that certain evidence was received only for a limited purpose.

Ifso, you may use the evidence only for that limited purpose, and not for any other purpose.

                                                 7
          Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 8 of 23




                                    WHAT IS NOT EVIDENCE


       Certain things are not evidence and cannot be considered by you as evidence. Arguments

and statements by lawyers are not evidence. What tbey have said in their opening statements,

closing arguments and at other times is intended to help you interpret the evidence, but it is not

evidence. Ifthe facts as you remember them differ from the way the lawyers have stated them,

your memory controls. Ifthe law as stated by the lawyers differs from the law as stated by the

court, you must take the law from the court.

       You are not to be concerned with the wisdom of any rule oflaw as stated by the court.

Regardless of any opinion that you may have as to what the law ought to be, it would be a

violation of your sworn duty to base a verdict upon any other view ofthe law than that given in

the instructions ofthe court,just as it would be a violation of your sworn duty, asjudges ofthe

facts, to base a verdict upon anything but the evidence in this case.

       Questions and objections by lawyers are not evidence, unless the witness adopts the facts

set forth in the question. Lawyers have a duty to their clients to object when they believe a

question is improper under the rules ofevidence. You should not be influenced by objections or

by my ruling on objections. It is the responsibility ofthe court to rule on objections and the court

has not intended to indicate in any way by its rulings or by what it has said what the verdict

should be in this case. The court in this case, as in all cases, is completely neutral and impartial

and leaves it to the jury to decide the case based on the facts as you find them to be and the law

as the court will give it to you.
          Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 9 of 23



       Testimony that has been excluded or stricken, or that you have been instructed to

disregard, is not evidence and must not be considered. Anything you may have seen or heard

when the court was not in session is not evidence. You are to decide the case solely on the

evidence received at trial.




                              PRESUMPTION OF INNOCENCE


       The fact that an indictment is retumed against an individual is not evidence ofthat

person's guilt. An indictment is merely a formal method of accusing an individual ofa crime in

order to bring that person to trial. It is you the jury who will determine whether the defendant is

guilty or not guilty ofthe offense charged based on a consideration of all the evidence presented

and the law applicable to the case. Therefore, you must not consider the indictment in this case

as any evidence ofthe guilt ofthe defendant, nor should you draw any inference from the fact

that an indictment has been retumed against him.

       The law presumes every defendant to be innocent until proven guilty beyond a reasonable

doubt. The defendant, although accused,thus begins a trial with a clean slate ~ with no evidence

against him. The law permits nothing but legal evidence presented before the jury to be

considered in support of any charge against a defendant.

       The presumption ofinnocence alone is sufficient to acquit a defendant unless the jury is

satisfied beyond a reasonable doubt that the defendant is guilty after a careful and impartial

consideration of all ofthe evidence in the case.
         Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 10 of 23




               BURDEN OF PROOF: BEYOND A REASONABLE DOUBT

       The burden is always on the United States Attorney to prove guilt beyond a reasonable

doubt. This burden never shifts to a defendant. That is, the defendant does not have to prove his

innocence. The law does not impose upon a defendant in a criminal case the burden or duty of

calling any witnesses or producing any evidence. The defendant enters the courtroom and is

presumed to be innocent until the United States Attorney convinces you beyond a reasonable

doubt that he is guilty ofevery essential element ofthe offense charged.

       Ifthe jury, after careful and impartial consideration of all ofthe evidence in this case, has

a reasonable doubt that the defendant is guilty ofthe charge set forth in the indictment, it must

find the defendant not guilty.

       The jury must never find a defendant guilty based on mere suspicion, conjecture, or

guess. Rather, the jury must decide the case on the evidence that is before you and on the

reasonable inferences that can be drawn from that evidence.




              NO CONSIDERATION OF SENTENCING OR PUNISHMENT


       You are not to give any consideration to potential punishments or sentences in deciding

this case. The punishment provided by law for the offense charged in the indictment is a matter

exclusively within the province ofthe court and should never be considered by the jury in any

way in arriving at an impartial verdict. You must decide this case based on the evidence you

have seen and heard and on the law as the court gives it to you, and not on any punishment you

believe the defendant might receive or could receive




                                                 10
         Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 11 of 23



                                        INDICTMENT


       The indictment consists offive counts. Counts 1 through 4 charge the defendant, Daniel

Musso, with knowingly receiving and possessing firearms, in the form of explosive grenades,

that were not registered to him in the National Firearms Registration and Transfer Record.

Count 5 charges the defendant with knowingly receiving explosive materials without a license or

permit. I will describe those charges in more detail in a moment.

       A separate crime is charged in each count ofthe Indictment. The jury should consider

each charge, and the evidence pertaining to it, separately. The fact that you may find the

defendant guilty or not guilty as to one or some of the counts should not control your verdict as

to the other counts.


       The indictment charges that the offenses were conunitted "on or about" certain dates.

Although it is necessary for the government to prove beyond a reasonable doubt that the

defendant committed the offenses on dates reasonably near the dates alleged in the indictment, it

is not necessary for the government to prove that the offense was committed on precisely the

date charged.




                                                11
         Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 12 of 23




                                COUNTS
             RECEIVING AND POSSESSING UNREGISTERED FIREARMS

       In Counts 1 through 4 ofthe indictment, the defendant is charged with receiving and

possessing an unregistered firearm. It is against federal law for the defendant to receive or

possess certain kinds offirearms that are not registered to him in the National Firearms

Registration and Transfer Record. For you to find Mr. Musso guilty ofthis crime,the

government must prove each of the following elements beyond a reasonable doubt:

       First, that Mr. Musso knowingly received or possessed the firearm described in the

indictment—specifically, an explosive grenade—on about the date charged in the indictment;

       Second,that the firearm was of a kind that is required to be registered in the National

Firearms Registration and Transfer Record. I instruct you that an explosive grenade is a firearm

that must be registered;

       Third, that Mr. Musso knew that the firearm was an explosive grenade; and

       Fourth, that the firearm was not registered to Mr. Musso in the National Firearms

Registration and Transfer Record.

       I will now define some ofthese terms for you:

       The word "knowingly" means that the act was done voluntarily and intentionally, not

because of mistake or accident. The government is not required to show that Mr. Musso

knowingly violated the law or knew that registration was required. It is, however, required to

prove beyond a reasonable doubt that Mr. Musso knowingly possessed the grenades and knew

that they were "explosive grenades."




                                                 12
           Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 13 of 23



       The term "possess" means to exercise authority, dominion or control over something. It is

not necessarily the same as legal ownership. Possession includes both actual and constructive

possession. A person who has direct physical control ofsomething on or around his or her

person is then in actual possession of it. A person who is not in actual possession, but who has

both the power and the intention to exercise control over something is in constructive possession

of it. Whenever I use the term "possession" in these instructions, I mean actual as well as

constructive possession.

       With respect to the fourth element,the parties have stipulated that there are no and never

have been any grenades registered to Mr. Musso in the National Firearms Registration and

Transfer Record. You may, but are not required to, accept this stipulation as proof ofthat

element.




                                                13
         Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 14 of 23




                                            COUNTS
                          RECEIVING EXPLOSIVE MATERIALS

       Count 5 ofthe indictment charges the defendant, Daniel Musso, with receiving explosive

materials without a license or permit. It is against federal law for the defendant to knowingly

receive certain kinds ofexplosive materials unless he has a federal license or permit. For you to

find Mr. Musso guilty ofthis crime,the government must prove each ofthe following elements

beyond a reasonable doubt:

       First, that Mr. Musso knowingly received explosive materials—specifically.

Composition B—on or about the date charged; and

       Second,that Mr. Musso did not have a license or permit issued by the Attorney General

permitting him to receive explosive materials.

       The word "knowingly," as I have already instructed you, means that the act was done

voluntarily and intentionally, not because of mistake or accident. With respect to this count, the

government is not required to prove that Mr. Musso knew he was violating the law, or that he

knew he did not have the requisite license or permit, or that he knew he was required to have a

license or permit. But the goverrunent must prove, beyond a reasonable doubt,that Mr. Musso

knowingly received the explosive material specified in the indictment—^that is. Composition B—

and that Mr. Musso knew that what he received had characteristics that brought it within the

legal definition of"explosive material," as I am about to define it for you.

       "Explosive material" means any chemical compound, mixture, or device, the primary or

common purpose of which is to function by explosion. The term includes, but is not limited to,

dynamite and other high explosives, black powder, pellet powder,initiating explosives, blasting

agents, detonators, safety fuses, squibs, detonating cord, igniting cord, and igniters. Composition

B is an explosive material.


                                                 14
         Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 15 of 23



       A "licensee" is any importer, manufacturer, or dealer ofexplosive material who is

licensed under federal law. A "permittee" is any user of explosives for a lawful purpose, who has

obtained either a user permit or a limited permit under federal law.

       With respect to the second element,the parties have stipulated that Mr. Musso does not

have and never has had any explosives license or an explosives permit. You may, but are not

required to, accept this stipulation as proofofthat element.




                                                15
         Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 16 of 23




                                       ENTRAPMENT


       The defendant maintains that he was entrapped. A person is "entrapped" when he is

induced or persuaded by law enforcement officers or their agents to commit a crime that he was

not otherwise ready and willing to commit. The law forbids the conviction ofa person who has

been entrapped. However,law enforcement agents are permitted to use a variety of methods to

afford an opportunity to a defendant to commit an offense, including the use of undercover

agents, furnishing offunds for the purchase of controlled substances, the use ofinformers, and

the adoption offalse identities.

       Before you may find Mr. Musso guilty of any ofthe offenses for which he is charged,

you must be convinced that the government has proven beyond a reasonable doubt that Mr.

Musso was not entrapped. To show that Mr. Musso was not entrapped, the government must

establish beyond a reasonable doubt at least one ofthe following two things:

       One,that the government agents did not improperly persuade or talk Mr. Musso into

committing the crime. Simply giving someone an opportunity to commit a crime is not the same

as persuading him. Improper inducement requires something more than providing an

opportunity to commit a crime, such as persuasion, false statements, excessive pressure by the

government agent, or an undue appeal to sympathy.

        Or two,that Mr. Musso was ready and willing to commit the charged crimes without any

persuasion from the government or any ofits agents.




                                               16
          Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 17 of 23




       In determining whether the government has carried its burden ofproving that Mr. Musso

was not entrapped, you may consider such factors as:

       (a)the character or reputation of Mr. Musso;

       (b)whether the initial suggestion of criminal activity was made by the government or its

agents;

       (c) whether Mr. Musso was engaged in the criminal activity for profit;

       (d)whether Mr. Musso showed reluctance to commit the offense, and whether that

reluctance reflects the conscience of an innocent person or merely the caution of a criminal;

       (e)the nature or persistence ofthe persuasion offered by the government; and

       (f) how long the government persuasion lasted.




                                                17
         Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 18 of 23




                                   CHAIN OF CUSTODY


       Certain items of physical evidence—specifically,the grenades—and test results

concerning those items have been admitted into evidence. You are not required to find that these

items are what witnesses claim them to be or that the items contained explosive materials when

exchanged with Mr. Musso. Is it up to you to determine whether the items are what they purport

to be and that they contained explosive materials when exchanged with Mr. Musso.

       You must determine whether you believe that the items were found as the witnesses

claim and were submitted for testing in the condition in which they were found. In making that

determination, you should consider all the evidence,including any evidence or lack ofevidence

ofthe chain of custody of those exhibits.

       "Chain ofcustody" means simply the succession of people who handled or had access to

those items from the time they were in the possession ofthe FBI to the time they were tested.

You may consider any gaps in the chain ofcustody in deciding what weight to give these items

and the test results on them.




                                               18
         Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 19 of 23



                                       VERDICT FORM


       In the verdict form, you will be asked to indicate whether you find the defendant "guilty"

or "not guilty" ofthe offenses charged in the indictment. Remember that you may not find the

defendant guilty unless you unanimously find that the United States Attorney has proven beyond

a reasonable doubt each element ofthe crime.




                                        NOTE TAKING


       You were permitted to take notes during this trial, and I want to remind you ofthe

instructions I gave you about your notes. Do not use your notes as authority to persuade other

jurors. Your notes should be used only as aids to your own memory and must not be used as

authority to persuade the other jurors of what the evidence was during the trial. You might have

made an error or a mistake in recording what you have seen or heard. In the end, each juror must

rely on his or her own recollection or impression as to what the evidence was. Your notes are

not official transcripts ofthe testimony.




                                               19
        Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 20 of 23




                    JURY EVIDENCE RECORDING SYSTEM "JERS^*

       You will be able to view the documentary exhibits in this case through an electronic

system called "JERS." "J-E-R-S" stands for "Jury Evidence Recording System." In your

deliberation room is a plasma television. It is operated by touch. You will be able to view the

exhibits from that plasma television screen. The advantage is that you can all see the exhibit on

the screen and discuss that exhibit while seeing it displayed on the screen. You may consider

any and all exhibits in the JERS system.

       It is easy to use. The courtroom deputy will show you a brief tutorial. But,if you have a

question about JERS,as with any other question you might have, YOU MUST PUT IT IN

WRITING. Even if you need some sort oftechnical assistance with JERS, you will need to put

your request in writing so that the court security officer can present it to me. Before resolving

any of your questions, I show your written question to the lawyers.




                                                20
         Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 21 of 23



                                          CONCLUSION


       The principles oflaw set forth in these instructions are intended to guide you in reaching

a fair and just result in this case, which is important to the parties. You are to exercise your

judgment and common sense without prejudice, without sympathy, but with honesty and

understanding. You should be conscientious in your determination ofajust result in this case

because that is your highest duty as officers ofthis court. Remember also that the question

before you can never be: will the government win or lose the case? The government always

wins when justice is done, regardless of whether the verdict be guilty or not guilty.

        When you have considered and weighed all ofthe evidence, you must make one ofthe

following findings with respect to each crime charged:

        1. If you have a reasonable doubt as to whether the United States Attorney has proved

any one or more ofthe elements ofthe crime charged,including the identity ofthe defendant as

the perpetrator ofthe crime, it is your duty to find the defendant not guilty.

        2. If you find that the United States Attorney has proved all ofthe elements ofthe crime

charged beyond a reasonable doubt, including the identity ofthe defendant as the perpetrator of

the crime,then you may find the defendant guilty.

        As I explained before, the punishment provided by law for the offense charged in the

indictment is a matter exclusively within the province ofthe court and should never be

considered by the jury in any way in arriving at an impartial verdict.

        When you retire, you should elect one member of the jury as your foreperson. That

individual will act very much like the chairperson ofa committee, seeing to it that the

deliberations are conducted in an orderly fashion and that each juror has a full and fair

opportunity to express his or her views, positions and arguments on the evidence and on the law.



                                                  21
         Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 22 of 23




       The verdict must represent the considered judgment of each juror. In order to return a

verdict, it is necessary that each juror agree thereto. Your verdict must be unanimous.

       It is your duty as jurors to consult with one another and to deliberate with a view to

reaching an agreement, if you can do so without violence to individualjudgment. Each of you

must decide the case for yourself, but do so only after an impartial consideration ofthe evidence

in the case with the other jurors. In the course of your deliberations, do not hesitate to re-

examine your own views and to change your opinion if convinced it is erroneous. But do not

surrender your honest conviction as to the weight or effect ofthe evidence solely because ofthe

opinion ofthe otherjurors or merely for the purpose ofreturning a verdict. You should also take

as much time for deliberations in this case as you consider to be necessary and appropriate.

       Remember at all times that you are not partisans. You are judges,judges ofthe facts.

Your sole interest is to seek the truth from the evidence in the case. If during your deliberations

it becomes necessary to communicate with the court, you may do so only in writing, signed by

the foreperson or by one or more members ofthe jury. Give that note to the court security

officer and it will be brought to the court's attention. No member ofthe jury should ever attempt

to communicate with the court except by a signed writing, and the court will communicate with

the jury on anything concerning the case either in writing or orally in the courtroom. Remember

that you are not to tell anyone,including the court, how the jury stands, numerically or

otherwise, on the matters you are deciding, until after you have reached a unanimous verdict or

have been discharged.

        Nothing said in these instructions is intended to suggest or to convey in any way or

manner what your verdict should be. The verdict is the sole and exclusive duty and

responsibility ofthe jury.



                                                  22
         Case 1:16-cr-00033-JL Document 166 Filed 08/14/20 Page 23 of 23




       When you have completed the verdict form according to these instructions and the

instructions on the form, you will have concluded your deliberations and arrived at a verdict. At

that point the foreperson should sign and date the verdict form. Then notify the security officer

and you will be retumed to the courtroom.




                                                23
